       Case 1:18-cv-00338-REB Document 1 Filed 07/27/18 Page 1 of 12




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                        UNITED STATES DISTRICT COURT FOR THE
                                        DISTRICT OF IDAHO
                          NORTHERN DIVISION – COEUR d’ ALENE
------------------------------------------------------------
ZUFFA, LLC d/b/a Ultimate Fighting
Championship,

                                    Plaintiff,                COMPLAINT

         -against-                                            Civil Action No.

GWENDOLYN HANSEN, Individually, and
d/b/a JACK’S CLUB, a/k/a JACK’S CLUB
LEGION,

                                    Defendant.
-----------------------------------------------------------


         Plaintiff, ZUFFA, LLC d/b/a Ultimate Fighting Championship (hereinafter

“Plaintiff”), by its attorneys, LONSTEIN LAW OFFICE, P.C., complaining of the
      Case 1:18-cv-00338-REB Document 1 Filed 07/27/18 Page 2 of 12




Defendant herein respectfully sets forth and alleges, as follows:



                             JURISDICTION AND VENUE

       1. This is a civil action seeking damages for violation of 47 U.S.C. §§ 553 or

605, et seq. and for copyright infringement under the copyright laws of the U.S. (17

U.S.C. §101, et seq.).

       2. This Court has jurisdiction under 17 U.S.C. §101, et seq. and 28 U.S.C.

Section §1331, which states that the district courts shall have original jurisdiction of all

civil actions arising under the Constitution, laws, or treaties of the United States; and 28

U.S.C. Section §1338(a) (copyright).

       3. Upon information and belief, venue is proper in this court because, inter alia, a

substantial part of the events or omissions giving rise to the claim occurred within

Boundary County, which is within the District of Idaho (28 U.S.C. § 1391(b) and 28

U.S.C. § 92).

       4. This Court has personal jurisdiction over the parties in this action. Defendant

to this action had or has an agent or agents who has or had independently transacted

business in the State of Idaho and certain activities of Defendant giving rise to this action

took place in the State of Idaho; more particularly, Defendant’s acts of violating federal

laws and the proprietary rights of Plaintiff, as distributor of the satellite programming

transmission signals took place within the State of Idaho. Moreover, upon information

and belief, Defendant has her principal place of business within the State of Idaho; thus,


                                             -2-
     Case 1:18-cv-00338-REB Document 1 Filed 07/27/18 Page 3 of 12




this Court has personal jurisdiction over Defendant.



                                    THE PARTIES

       5. The plaintiff is a Nevada Limited Liability Company with its principal place

of business located at 6650 S. Torrey Pines Drive, Las Vegas, Nevada 89118.

       6. Plaintiff is the owner of the UFC 216 Broadcast, including all undercard

matches and the entire television Broadcast, scheduled for October 7, 2017, via closed

circuit television and via encrypted satellite signal (hereinafter referred to as the

“Broadcast”).

       7.    Upon information and belief the Defendant, GWENDOLYN HANSEN,

resides at 160 Boulevard, Kenilworth, NJ 07033.

       8. Upon information and belief the Defendant, GWENDOLYN HANSEN, is the

owner and operator of the establishment known as JACK’S CLUB, a/k/a JACK’S CLUB

LEGION located at 6416 Kootenai Street, Booners Ferry, ID 83805.

       9. Upon information and belief the Defendant, GWENDOLYN HANSEN, was

the individual with supervisory capacity and control over the activities occurring within

the establishment known as JACK’S CLUB, a/k/a JACK’S CLUB LEGION, located at

6416 Kootenai Street, Booners Ferry, ID 83805 on October 7, 2017.

       10.   Upon information and belief the Defendant, GWENDOLYN HANSEN,

received a financial benefit from the operations of JACK’S CLUB, a/k/a JACK’S CLUB

LEGION, on October 7, 2017.


                                           -3-
      Case 1:18-cv-00338-REB Document 1 Filed 07/27/18 Page 4 of 12




       11. Upon information and belief, Defendant, GWENDOLYN HANSEN, was the

individual with close control over the internal operating procedures and employment

practices of JACK’S CLUB, a/k/a JACK’S CLUB LEGION, on October 7, 2017.

       12. Upon information and belief, the Establishment known as JACK’S CLUB,

a/k/a JACK’S CLUB LEGION is located at 6416 Kootenai Street, Booners Ferry, ID

83805, and had a capacity for 101-200 people on October 7, 2017.

       13. Upon information and belief, the Establishment known as JACK’S CLUB,

a/k/a JACK’S CLUB LEGION, is a business entity, having its principal place of business

at 6416 Kootenai Street, Booners Ferry, ID 83805.

       14.    Upon information and belief, Defendant, GWENDOLYN HANSEN,

charged a cover charge of $5.00 per person for patrons entering the commercial

establishment known as JACK’S CLUB, a/k/a JACK’S CLUB LEGION.

       15.    Upon information and belief, Defendant, GWENDOLYN HANSEN,

advertised on social media, including but not limited to the Establishment’s Facebook

page, for the exhibition of Plaintiff’s Broadcast within the commercial establishment

known as JACK’S CLUB, a/k/a JACK’S CLUB LEGION.



                                        COUNT I

       16.   Plaintiff hereby incorporates by reference all of the allegations contained in

paragraphs “1" through “15,” inclusive, as though set forth herein at length.

       17. Plaintiff is the owner of the UFC 216 Broadcast, including all undercard


                                            -4-
      Case 1:18-cv-00338-REB Document 1 Filed 07/27/18 Page 5 of 12




matches and the entire television Broadcast, scheduled for October 7, 2017, via closed

circuit television and via encrypted satellite signal (hereinafter referred to as the

“Broadcast”).

       18. Plaintiff’s Broadcast originated via satellite uplink and was subsequently

re-transmitted to cable systems and satellite companies via satellite signal.

       19. Plaintiff, or its authorized agent for commercial distribution, for a licensing

fee, entered into licensing agreements with various entities in the State of Idaho, allowing

them to publicly exhibit the Broadcast to its patrons. Upon payment of the appropriate

fees, Plaintiff authorizes and enables subscribers to unscramble and receive the satellite

Broadcast.

       20.   The Broadcast was also available for non-commercial, private viewing

through Plaintiff or its authorized online platforms for residential Pay-Per-View purchase

via the internet.    Owners of commercial establishments wishing to use Plaintiff’s

Broadcasts for their own commercial gain can surreptitiously gain access to Plaintiff’s

Broadcasts by purchasing the programming online, without proper authorization, at

residential rates, which are greatly discounted compared to the rates required for

commercial entities.

       21.   In order to view the Broadcast through a website intended for private,

non-commercial viewing, an individual purchaser was subject to the copyright language

contained therein which expressly stated that the “unauthorized reproduction or

distribution of the copyrighted work is illegal.”


                                             -5-
      Case 1:18-cv-00338-REB Document 1 Filed 07/27/18 Page 6 of 12




           22. Upon information and belief, with full knowledge that the Broadcast was not

to be received and exhibited by entities unauthorized to do so, the Defendant and/or her

agents, servants, workmen or employees, without paying Plaintiff a fee or entering into an

agreement with Plaintiff or its authorized agent for commercial exhibition, unlawfully

intercepted, received and/or de-scrambled Plaintiff’s satellite signal and did exhibit the

Broadcast at the above address at the time of its transmission willfully and for purposes of

direct or indirect commercial advantage or private financial gain. Defendant also

advertised for the Broadcast on Facebook and elsewhere, making their actions clearly

willful.

           23. Upon information and belief, Plaintiff alleges that Defendant effected

unauthorized interception and receipt of Plaintiff’s Broadcast by ordering programming

for residential use and subsequently displaying the programming in the commercial

establishment known as JACK’S CLUB, a/k/a JACK’S CLUB LEGION for commercial

gain without authorization, or by such other means which are unknown to Plaintiffs and

known only to Defendant.

           24.     Upon information and belief, Defendant and/or her agents, servants,

workmen and/or employees used an illegal satellite receiver, intercepted Plaintiff’s signal

and/or used a device to intercept Plaintiff’s Broadcast, which originated via satellite

uplink and then re-transmitted via satellite or microwave signal to various cable and

satellite systems. There are multiple illegal methods of accessing the Broadcast, including

but not limited to (1) splicing an additional coaxial cable line or redirecting a wireless


                                             -6-
      Case 1:18-cv-00338-REB Document 1 Filed 07/27/18 Page 7 of 12




signal from an adjacent residence into a business establishment; (2) commercially

misusing cable or satellite by registering same as a residence when it is, in fact, a

business; or (3) taking a lawfully obtained box or satellite receiver from a private

residence, into a business.    In addition, emerging technologies, such as broadband or

internet Broadcast, as well as “slingbox” technology (which allows a consumer to literally

sling the Broadcast from his personal home cable or satellite systems into his computer),

can allow commercial misuse of residential broadcasting feeds through the internet from

anywhere in the world. Each of these methods would allow Defendants to access the

Broadcast unlawfully. Prior to Discovery, Plaintiff is unable to determine the manner in

which Defendant obtained the Broadcast.            However, it is logical to conclude that

Defendant utilized one of the above described methods or another to intercept and exhibit

the Broadcast without entering into an agreement to obtain it lawfully from Plaintiff, the

legal rights holder for commercial exhibition.

        25. 47 U.S.C. §605 (a) prohibits the unauthorized reception and publication or

use of communications such as the transmission for which plaintiff had the distribution

rights thereto.

        26. By reason of the aforementioned conduct, the aforementioned Defendant

willfully violated 47 U.S.C. §605 (a).

        27.   By reason of the aforementioned Defendant’s violation of 47 U.S.C. §605

(a), Plaintiff has a private right of action pursuant to 47 U.S.C. §605.

        28. As a result of the aforementioned Defendant’s willful violation of 47 U.S.C.


                                             -7-
      Case 1:18-cv-00338-REB Document 1 Filed 07/27/18 Page 8 of 12




§605 (a), Plaintiff is entitled to damages, in the discretion of this Court, under 47 U.S.C.

§605 (e)(3)(C)(i)(II) and (ii) of up to the maximum amount of $110,000.00 as to each

Defendant.

       29. Pursuant to 47 U.S.C. §605, Plaintiff is also entitled to an award of full costs,

interest and reasonable attorney’s fees.



                                           COUNT II

       30. Plaintiff hereby incorporates paragraphs “1" through “15" and “17" through

“24,” inclusive, as though fully set forth herein.

       31. Upon information and belief, with full knowledge that the Broadcast was not

to be received and exhibited by entities unauthorized to do so, the Defendant and/or her

agents, servants, workmen or employees did exhibit the Broadcast at the above-captioned

address at the time of its transmission willfully and for purposes of direct or indirect

commercial advantage or private financial gain.

       32.    47 U.S.C. §553 prohibits the unauthorized reception, interception and

exhibition of any communications service offered over a cable system such as the

transmission for which Plaintiff had the distribution rights as to commercial

establishments thereto.

       33.    Upon information and belief, the Defendant individually, willfully and

illegally intercepted said Broadcast when it was distributed and shown by cable television

systems.


                                              -8-
      Case 1:18-cv-00338-REB Document 1 Filed 07/27/18 Page 9 of 12




          34.    By reason of the aforementioned conduct, all of the aforementioned

Defendant willfully violated 47 U.S.C. §553, thereby giving rise to a private right of

action.

          35.   As a result of the aforementioned Defendant’s violation of 47 U.S.C. §553,

Plaintiff is entitled to damages, in an amount in the discretion of this Court, of up to the

maximum amount of $60,000.00, plus the recovery of full costs, interest and reasonable

attorney’s fees.



                                            COUNT III

          36. Plaintiff hereby incorporates paragraphs “1" through “15" and “17" through

“24," and “31,” inclusive, as though fully set forth herein.

          37. Plaintiff is the owner of the copyright to the UFC 216 Broadcast, including

all undercard matches and the entire television Broadcast, scheduled for October 7, 2017,

via closed circuit television and via encrypted satellite signal.         The filing of the

applications for certificate of copyright registration are pending.          The Broadcast

originated via satellite uplink and was subsequently re-transmitted to cable systems and

satellite companies via satellite signal.

          38. As a copyright holder of the rights to the UFC 216 Broadcast, Plaintiff has

rights to the Broadcast, including the right of distribution as well as the licensing to

commercial establishments for the right to exhibit same.

          39. Defendant never obtained the proper authority or license from Plaintiff, or its


                                               -9-
     Case 1:18-cv-00338-REB Document 1 Filed 07/27/18 Page 10 of 12




authorized agent for commercial distribution, to publicly exhibit the UFC 216 Broadcast

on October 7, 2017.

       40.     Upon information and belief, with full knowledge that the UFC 216

Broadcast can only be exhibited within a commercial establishment by the purchasing of

a license from Plaintiff, or its authorized agent for commercial distribution, Defendant

and/or her agents, servants, workmen or employees illegally intercepted the Broadcast

and exhibited same in her commercial establishment on October 7, 2017.

       41. Specifically, upon information and belief, the Defendant and/or her agents,

servants, workmen and employees unlawfully obtained the UFC 216 Broadcast, enabling

Defendant to publicly exhibit the Broadcast without paying the appropriate licensing fee

to Plaintiff, or its authorized agent for commercial distribution.

       42. By reason of the aforementioned conduct, the Defendant willfully violated

17 U.S.C. §501(a).

       43. By reason of the aforementioned Defendant’s violation of 17 U.S.C. §501(a),

Plaintiff has a private right of action pursuant to 17 U.S.C. §501 (b).

       44. As a result of Defendant’s willful infringement of Plaintiff’s copyrights and

exclusive rights under copyright, Plaintiff is entitled to damages, in the discretion of this

Court, under 17 U.S.C. §504(c)(1) and 504(c)(2), of up to the maximum amount of

$150,000.00.

       45. Plaintiff is further entitled to its attorney’s fees and costs pursuant to 17

U.S.C. §505.


                                            -10-
     Case 1:18-cv-00338-REB Document 1 Filed 07/27/18 Page 11 of 12




       WHEREFORE, the Plaintiff requests that judgment be entered in its favor and

against each of the aforementioned Defendant, jointly and severally, granting to plaintiff

the following:


                 (a) Declare that Defendant’s unauthorized exhibition of the October 7,

                 2017, UFC 216 Broadcast, violated the Federal Communications Act and

                 that such violations were committed willfully and for purposes of

                 Defendant’s direct or indirect commercial advantage or for private

                 financial gain, as Defendant advertised and subsequently displayed

                 Plaintiff’s Broadcast.

                 (b)   On the first cause of action, statutory penalties in an amount, in the

                 discretion of this Court, of up to the maximum amount of $110,000.00 as

                 to each Defendant for her willful violation of 47 U.S.C. §605 (a); or

                 (c) On the second cause of action, statutory penalties in an amount, in the

                 discretion of this Court, of up to the maximum amount of $60,000.00 as to

                 each Defendant for her violation of 47 U.S.C. §553.

                 (d) Attorney’s fees, interest, costs of suit as to each Defendant pursuant to

                 47 U. S. C. § 605 (e).

                 (e) On the third cause of action, statutory penalties in an amount, in the

                 discretion of this Court, of up to the maximum amount of $150,000.00 as

                 to the Defendant pursuant to §504(c)(1) and §504(c)(2) for her violation of

                 17 U.S.C. §501(a).

                 (f) Attorney’s fees, interest, costs of suit as to the Defendant pursuant to 47

                 U. S. C. § 605 (e)(3) (B) (iii) and/or §553 (c)(2)(C).

                 (g) Attorney’s fees, interest, costs of suit as to the Defendant pursuant to

                                              -11-
    Case 1:18-cv-00338-REB Document 1 Filed 07/27/18 Page 12 of 12




             17 U.S.C. §505, together with such other and further relief as this Court

             may deem just and proper.

Dated: July 27, 2018
       Ellenville, NY

                                  ZUFFA, LLC

                                  By: /s/Julie Cohen Lonstein
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